                Case 19-17620-RAM          Doc 63       Filed 10/15/19   Page 1 of 2




     ORDERED in the Southern District of Florida on October 11, 2019.




                                                                 Robert A. Mark, Judge
                                                                 United States Bankruptcy Court
_____________________________________________________________________________



                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                                    www.flsb.uscourts.gov

  In re:
  Mario L Sorroche Moreno                                      Case No. 19-17620-RAM
         Debtor.                                               Chapter 13

  ____________________________________________/

           FINAL JUDGMENT AGAISNT CREDITOR SENNA LENDERS CORP.

         The Debtor, Mario L. Sorroche Moreno (herein “Debtor”), having prevailed pursuant to

  the Order Granting Motion For Contempt, Granting Motion For Sanctions, Granting Motion For

  Summary Judgment [ECF#58] and Creditor, Senna Lenders, Corp. (herein “Creditor”)

  represented by its counsel having entered a general appearance upon ECF#20 and filing proof of

  claim #5 consented to the Court’s jurisdiction over Creditor and the subject matter of this action;

                                                   I.

  IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED:

         That judgment be, and the same is hereby entered in favor of the Debtor, Mario L.

  Sorroche Moreno, 3740 E 8th Court, Hialeah, FL 33013-2802 and against Creditor, Senna
                 Case 19-17620-RAM               Doc 63      Filed 10/15/19         Page 2 of 2




Lenders Corp., Sergio G. Bertisch, President & Registered Agent, 651 NE 191 Terrace, Miami,

FL 33179 in the sum of $27,961.05, less $0.00 in payments, for a Total Sum of $27,961.05, that

shall bear interest at the prevailing Federal Post Judgment Interest Rate pursuant to 28 U.S.C.

1961 per year from this date until December 31 of this current year, for which let execution

issue. Thereafter, on January 1 of each succeeding year until the judgment is paid, the interest

rate will adjust in accordance with the prevailing Federal Post Judgment Interest Rate pursuant to

28 U.S.C. 1961, for which let execution issue. The Total Sum shall be made to “Robert Sanchez,

P.A., Trust Account” and mailed to Robert Sanchez, P.A., c/o Jose A. Blanco, Esq., 355 W 49th

Street, Hialeah, FL 33012. The terms of this Final Judgment shall be enforceable against

Creditor and Creditor’s successors in interest and assigns. The Court retains jurisdiction after

entry of this judgment.

                                                         # # #

Attorney Jose A. Blanco, Esq., is hereby directed to serve a copy of this Final Judgment on counsel for Creditor and
to file a Certificate of Service thereof in accordance with applicable rules.

                                                               Respectfully Submitted By:
                                                               ROBERT SANCHEZ, P.A.
                                                               Attorney for Debtor
                                                               355 W 49th Street
                                                               Hialeah, FL 33012
                                                               Tel. (305) 687-8008
                                                               By:/s/Jose A. Blanco _________________
                                                               Jose A. Blanco, Esq., FBN#062449
